Case 1:19-cv-00545-VEH Document 1 Filed 04/08/19 Page 1 of 10            FILED
                                                                2019 Apr-08 PM 02:48
                                                                U.S. DISTRICT COURT
                                                                    N.D. OF ALABAMA
Case 1:19-cv-00545-VEH Document 1 Filed 04/08/19 Page 2 of 10
Case 1:19-cv-00545-VEH Document 1 Filed 04/08/19 Page 3 of 10
Case 1:19-cv-00545-VEH Document 1 Filed 04/08/19 Page 4 of 10
Case 1:19-cv-00545-VEH Document 1 Filed 04/08/19 Page 5 of 10
Case 1:19-cv-00545-VEH Document 1 Filed 04/08/19 Page 6 of 10
Case 1:19-cv-00545-VEH Document 1 Filed 04/08/19 Page 7 of 10
Case 1:19-cv-00545-VEH Document 1 Filed 04/08/19 Page 8 of 10
Case 1:19-cv-00545-VEH Document 1 Filed 04/08/19 Page 9 of 10
Case 1:19-cv-00545-VEH Document 1 Filed 04/08/19 Page 10 of 10
